                                               File Date:
Case 1:09-cr-00466-BMC-RLM Document 720 Filed 02/15/24    February
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                                                               Case Number: 09-cr-466 (BMC) (S-5)
                                                               Judge Brian M. Cogan

     FJN:RMP
     F.# 2009R0I 065/OCDETF# NY-NYE-616

     UNITED STATES DISTRICT COURT
     EASTERN DISTRICT OF NEW YORK
    ----------------------------------X
     UNITED STATES OF AMERICA                                   SU PE R S E DI N G
                                                                I N DI C T M E N T
            - against-
                                                                Cr. No. 09-466 <BMC) (S-5)
     ISMAEL lAMBADA GARCIA,                                     (T. 21, U.S.C., §§ 84l(b)(l)(A)(ii)(II),
       also known as "El Mayo," "Mayo                            846, 848(a), 848(b), 848(c),
       lambada," "Doctor," "La Doc,"                             853(a), 853(p), 959(a),
       "Doctora," "El Lie," "Mike"                               959(c), 960(a)(3),
       and "Mayo El Senor,"                                      960(b)(I )(A), 960(b)(I)(B)(ii),
                                                                 960(b)(1)(F), 960(b)(I)(G), 960(b)(I )(H),
                              Defendant.                         and 963; T. 18, U.S.C., §§ 2,
                                                                 924(c)(I )(A)(i), 924(c)(I)(A)(ii),
                                                                 924(c)(I )(A)(iii), 924(c)(1)(B)(ii),
                                                                 924(d), 982, 1956(h), 3238 and 3551
                                                                 et seq.)


    ----------------------------------X

    THE GRAND JURY CHARGES:

                                           INTRODUCTION

                   At all times relevant to this SupersedingIndictment, unless otherwise indicated:

                   1.      Since the late 1980s, the Mexican Federation (the "Federation") existed as

    an organized crime syndicate founded upon longstanding relationships between Mexico's major

    drug trafficking kingpins. The Federation functioned as a council with representatives from the

    respective drug trafficking organizations of its principal leaders, including the defendant

    ISMAEL lAMBADA GARCIA, also known as "El Mayo," "Mayo lambada," "Doctor," "La

    Doc," "Doctora," "El Lie," "Mike" and "Mayo El Senor," and others. During the late 1980s and

    1990s, the members of the Federation were hired b y Colombian sources of supply to transport

    drugs through Mexico and intoUnited States.
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                    2.      In the early 2000s,ISMAEL ZAMBADA GARCIA and Joaquin

     Archivaldo Guzman Loera, also known as "El Chapo,"formed a partnership that led to the

     transformation ofthe Federation into the Sinaloa Cartel, which became the largest drug

    trafficking organization in the world. The Sinaloa Cartel had a structure that included thousands

     of members, including:(a)the leadership of the Sinaloa Cartel, who were the ultimate decision

     makers in the organization with respect to its drug trafficking and money laundering activities, as

     well as its corruption and enforcement activities undertaken to preserve and protect its illegal

     activities;(b)security personnel, who protected the leadership ofthe Sinaloa Cartel and engaged

     in violent acts to further the goals of the organization;(c) plaza bosses, who controlled certain

    territories for the Sinaloa Cartel and were responsible for transporting drugs through those

    territories;(d)transporters, such as boat and submarine crews, pilots and truck drivers, who

    transported drugs from Colombia through Mexico and into the United States; and (e) money

    launderers, who funneled drug proceeds from the United States back to Mexico. While at times

    there have been rifts and infighting among the leaders of the Sinaloa Cartel, they generally

    coordinated their criminal activities, shared and controlled Mexico's trafficking routes, resolved

    conflicts over territory, minimized inter-organization violence and ensured the Sinaloa Cartel

    received official or non-official protection.

                    3.      The Sinaloa Cartel operated through cooperative arrangements and close

    coordination with South American cocaine sources of supply. The defendant ISMAEL

    ZAMBADA GARCIA and other leaders of the Sinaloa Cartel directed a large-scale narcotics

    transportation network involving the use of land, air and sea transportation assets, shipping

     multi-ton quantities of cocaine from South America, through Central America and Mexico, and

    finally into the United States. In addition, the Sinaloa Cartel manufactured and imported multi-
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     ton quantities of heroin, methamphetamine and marijuana into the United States. The vast

     majority of drugs trafficked by the Sinaloa Cartel were imported into United States, where the

     drugs were consumed. The Sinaloa Cartel used corruption as a means and method of achieving

    the goals of its drug trafficking enterprise.

                    4.      The Sinaloa Cartel's drug sales in the United States generated billions of

     dollars in profit. The drug proceeds were then laundered back to Mexico; often the drug money

     was physically transported from the United States to Mexico in vehicles containing hidden

    compartments and through other clandestine means.

                    5.     The defendant ISMAEL ZAMBADA GARCIA and other leaders ofthe

     Sinaloa Cartel also employed "sicarios," or hitmen, who carried out hundreds of acts of violence,

     including murders, assaults, kidnappings, assassinations and acts oftorture at the direction of the

    defendant. The defendant directed and ordered these acts of violence for a variety of reasons,

    including but not limited to:

                           (a)      promoting and enhancing the prestige, reputation and position of

    the Sinaloa Cartel with respect to rival criminal organizations;

                           (b)      preserving and protecting the power, territory and criminal

     ventures ofthe Sinaloa Cartel, including but not limited to the Sinaloa Cartel's control over drug

    trafficking routes over the U.S.-Mexico border;

                           (c)      enforcing discipline amongst its members and associates by

    punishing disloyalty and failure; and

                           (d)      protecting members ofthe Sinaloa Cartel from arrest and

    prosecution by silencing potential witnesses and retaliating against anyone who provided

    information or assistance to law enforcement authorities.
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                                                 COUNT ONE
                                      (Continuing Criminal Enterprise)

                    6.      The allegations contained in paragraphs one through five are realleged and

     incorporated as if fully set forth in this paragraph.

                    7.      In or about and between January 1989 and January 2024, both dates being

     approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

    ISMAEL ZAMBADA GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La

     Doc,""Doctora,""El Lie,""Mike" and "Mayo El Senor," together with others, did knowingly

    and intentionally engage in a continuing criminal enterprise, in that the defendant ISMAEL

    ZAMBADA GARCIA committed violations of Title 21, United States Code, Sections 841(a),

    846, 959(a) and 960(a), including Violations One through Eighty-Five set forth below, which

     violations were part of a continuing series of violations ofthose statutes undertaken by the

    defendant ISMAEL ZAMBADA GARCIA, in concert with five or more other persons, with

    respect to whom the defendant ISMAEL ZAMBADA GARCIA occupied supervisory and

     management positions, and was one of several principal administrators, organizers and leaders of

    the continuing criminal enterprise, and from which continuing series of violations the defendant

    ISMAEL ZAMBADA GARCIA obtained substantial income and resources, and which

    enterprise received in excess of$10 million in gross receipts during one or more twelve-month

    periods for the manufacture, importation and distribution of cocaine. The violations involved at

    least 300 times the quantity of a substance described in Section 841(b)(1)(B) of Title 21, United

    States Code,to wit: 150 kilograms or more of a substance containing cocaine. The continuing

    series of violations, as defined by Title 21, United States Code, Section 848(c), includes the

    following violations set forth below:
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                                     Violations One Through Twelve
                   (International Cocaine Distribution with the Norte del Valle Cartel)

                    8.     On or about the dates listed below, all dates being approximate and

     inclusive, the defendant ISMAEL ZAMBADA GARCIA, together with others, did knowingly

    and intentionally distribute a controlled substance, intending and knowing that such substance

     would be unlawfully imported into the United States from a place outside thereof, which

     offenses involved a substance containing cocaine, a Schedule 11 controlled substance, in the

    amounts listed below, in violation of Title 21, United States Code, Sections 959(a), 959(c),

    960(a)(3) and 960(b)(l)(B)(ii), and Title 18, United States Code, Section 2:

        VIOLATION         APPROXIMATE AMOUNT                       DATE(S)OF OFFENSE
         NUMBER                  OF COCAINE
                         3,000 Kilograms                   December 2006 - January 2007

                         3,200 Kilograms                   January 2005

                          12,000 Kilograms                 August 2004 - September 2004

                           0,500 Kilograms                 August 2004 - September 2004

                          10,000 Kilograms                 July 2004

                           0,000 Kilograms                 May 2004- June 2004

                         800 Kilograms                     April 2004

                          10,000 Kilograms                 March 2004- April 2004

                         8,000 Kilograms                   January 2004- March 2004

                         6,465 Kilograms                   January 2004

                         6,000 Kilograms                   November 2003 — December 2003


                         3,600 Kilograms                   August 2003 — September 2003
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                                 Violations Thirteen Through Sixty-Nine
                  (International Cocaine Distribution with the Don Lucho Organization)

                   9.      On or about the dates listed below, all dates being approximate and

     inclusive, the defendant ISMAEL ZAMBADA GARCIA,together with others, did knowingly

    and intentionally distribute a controlled substance, intending and knowing that such substance

     would be unlawfully imported into the United States from a place outside thereof, which

    offenses involved a substance containing cocaine, a Schedule II controlled substance, in the

    amounts listed below, in violation of Title 21, United States Code, Sections 959(a), 959(c),

    960(a)(3) and 960(b)(l)(B)(ii), and Title 18, United States Code, Section 2:

        VIOLATION        APPROXIMATE AMOUNT                       DATE(S)OF OFFENSE
         NUMBER                 OF COCAINE
                          ,302 Kilograms                  May 2,2010

                         5,000 Kilograms                  December 29, 2008

                         3,900 Kilograms                  July 15,2008

                         3,600 Kilograms                  May 10, 2008

                         2,132 Kilograms                  November 11, 2007

                         4,336 Kilograms                  April 15,2007

                          ,870 Kilograms                  January 15, 2007

                         3,000 Kilograms                  November 12, 2006

                         1,420 Kilograms                  November 12, 2006

                         2,100 Kilograms                  November 10, 2006

                         6,000 Kilograms                  September 23, 2006

                         3,000 Kilograms                  September 19, 2006

                         4,140 Kilograms                  August 28,2006
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       VIOLATION    APPROXIMATE AMOUNT              DATE(S)OF OFFENSE
           NUMBER         OF COCAINE
      26            2,463 Kilograms          July 8, 2006

      27            1,465 Kilograms          May 21,2006

      28            2,800 Kilograms          May 7, 2006

      29            3,048 Kilograms          April 9, 2006

      30            2,100 Kilograms          April 4, 2006

      31            818 Kilograms            April 4, 2006

      32            2,800 Kilograms          February 7, 2006

      33            4,467 Kilograms          January 13, 2006

      34            1,567 Kilograms          January 11, 2006

      35            811 Kilograms            November 30, 2005

      36            2,000 Kilograms          August 26, 2005

      37            2,040 Kilograms          August 23, 2005

      38            1,902 Kilograms          July 28, 2005

      39            1,300 Kilograms          July 27, 2005

      40 .          3,971 Kilograms          July 23, 2005

      41            1,700 Kilograms          July 11,2005

      42            1,100 Kilograms          July 9, 2005

      43            3,120 Kilograms          July 8, 2005

      44            4,000 Kilograms          July 6, 2005

      45            1,500 Kilograms          June 10, 2005

      46            1,811 Kilograms          June 2, 2005

      47            2,500 Kilograms          May 24, 2005
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       VIOLATION    APPROXIMATE AMOUNT              DATE(S)OF OFFENSE
        NUMBER            OF COCAINE
                    4,127 Kilograms          April 4, 2005

                    2,000 Kilograms          March 16, 2005

                    3,980 Kilograms          March 11,2005

                    2,000 Kilograms          February 12, 2005

                    1,850 Kilograms          December 22, 2004

                    1,589 Kilograms          December 20, 2004

                    1,850 Kilograms          November 11, 2004

                    1,830 Kilograms          September 13, 2004

                    1,888 Kilograms          July 29, 2004

                    1,800 Kilograms          December 7, 2003

                    234 Kilograms            October 4,2003

                    265 Kilograms            August 13, 2003

                    700 Kilograms            July 26, 2003

                    300 Kilograms            June 26, 2003

                    288 Kilograms            June 19, 2003

                    300 Kilograms            June 10, 2003

                    300 Kilograms            May 31,2003

                    1,817 Kilograms          May 31,2003

                    2,200 Kilograms          May 14, 2003

                    415 Kilograms            April 21, 2003

                    460 Kilograms            April 7, 2003

                    1,500 Kilograms          January 15, 2003
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                                 Violations Seventy Through Seventy-Two
                (International Cocaine Distribution with the Cifuentes-Villa Organization)

                    10.    On or about the dates listed below, all dates being approximate and

     inclusive, the defendant ISMAEL ZAMBADA GARCIA,together with others, did knowingly

     and intentionally distribute a controlled substance, intending and knowing that such substance

     would be unlawfully imported into the United States from a place outside thereof, which

     offenses involved a substance containing cocaine, a Schedule II controlled substance, in the

     amounts listed below, in violation of Title 21, United States Code, Sections 959(a), 959(c),

     960(a)(3) and 960(b)(l)(B)(ii), and Title 18, United States Code, Section 2:

        VIOLATION         APPROXIMATE AMOUNT                       DATE(S)OF OFFENSE
            NUMBER               OF COCAINE
       70                 450 Kilograms                    December 2008


       71                 400 Kilograms                    February 3, 2006

       72                 2,000 Kilograms                  January 25, 2004


                             Violations Seventv-Three Through Seventv-Eight
                (International Cocaine Distribution with Other South American Suppliers)

                    11.    On or about the dates listed below, all dates being approximate and

     inclusive, the defendant ISMAEL ZAMBADA GARCIA, together with others, did knowingly

     and intentionally distribute a controlled substance, intending and knowing that such substance

     would be unlawfully imported into the United States from a place outside thereof, which

     offenses involved a substance containing cocaine, a Schedule II controlled substance, in the

     amounts listed below, in violation of Title 21, United States Code, Sections 959(a), 959(c),

     960(a)(3) and 960(b)(l)(B)(ii), and Title 18, United States Code, Section 2:
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        VIOLATION         APPROXIMATE AMOUNT                        DATE(S)OF OFFENSE
            NUMBER                   OF COCAINE
       73                 373 Kilograms                     January 15, 2014

       74                 456 Kilograms                     June 6, 2013

       75                  1,000 Kilograms                  October 7, 2009

       76                 4,716 Kilograms                   September 13, 2008

       77                 5,000 Kilograms                   September 9, 2008 - September 12, 2008

       78                  19,000 Kilograms                 March 18, 2007



                                 Violations Seventv-Nine Through Eiahtv-Four
                                      (Cocaine and Heroin Distribution)

                    12.     On or about the dates listed below, all dates being approximate and

     inclusive, the defendant ISMAEL ZAMBADA GARCIA,together with others, did knowingly

     and intentionally distribute and possess with intent to distribute one or more controlled

     substances, which offenses involved (i) a substance containing cocaine, a Schedule 11 controlled

     substance, and (ii) a substance containing heroin, a Schedule I controlled substance, in the

     amounts listed below, in violation of Title 21, United States Code, Sections 841(a)(1),

     841(b)(l)(A)(i) and 841(b)(l)(A)(ii)(II), and Title 18, United States Code, Section 2:

       VIOLATION             JURISDICTION                APPROXIMATE                    DATE(S)OF
         NUMBER                                           AMOUNT OF                     OFFENSES
                                                         CONTROLLED
                                                          SUBSTANCES
                          District of Arizona        25 Kilograms of cocaine      September 27, 2013
                          District of New Jersey     511 Kilograms of             September 4, 2004
                                                     cocaine; and 3 Kilograms
                                                     of heroin
                          Eastern District of New    1,997 Kilograms of           January 28, 2003
                          York                       cocaine

                          Northern District of       1,925 Kilograms of           August 16, 2002
                          Illinois                   cocaine
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        VIOLATION             JURISDICTION                   APPROXIMATE                DATE(S)OF
         NUMBER                                              AMOUNT OF                   OFFENSES
                                                             CONTROLLED
                                                             SUBSTANCES
       83                  Eastern District of New     1,923 Kilograms of         May 24, 2002
                           York                        cocaine

       84                  Western District of         1,100 Kilograms of         September 15, 1999
                           Texas                       cocaine




                                             Violation Eightv-Five
                 (Murder Conspiracy - Persons Who Posed a Threat to the Sinaloa Cartel)

                     13.     In or about and between January 1989 and January 2024, both dates being

     approximate and inclusive, the defendant ISMAEL ZAMBADA GARCIA,together with others,

     while engaged in one or more offenses punishable under Sections 841(b)(1)(A) and 960(b)(1) of

     Title 21 of the United States Code, to wit: the crimes charged in Counts Two through Four, did

     knowingly and intentionally conspire to kill and cause the intentional killing of one or more

     persons, to wit: persons who posed a threat to the Sinaloa Cartel, and such killings did result,

     contrary to Title 21, United States Code, Section 848(e)(1)(A), in violation of Title 21, United

     States Code, Section 846.

                    (Title 21, United States Code, Sections 848(a), 848(b) and 848(c); Title 18,

     United States Code, Sections 2, 3238 and 3551 et seq.)

                                                 COUNTTWO
                            (International Cocaine, Heroin, Methamphetamine,
                     Marijuana and Fentanyl Manufacture and Distribution Conspiracy)

                     14.     The allegations contained in paragraphs one through five are realleged and

     incorporated as if fully set forth in this paragraph.

                     15.     In or about and between January 1989 and January 2024, both dates being

     approximate and inclusive, the defendant ISMAEL ZAMBADA GARCIA,also known as "El

     Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El Lie,""Mike" and "Mayo El
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                                                                                                      12



     Senor," together with others, did knowingly and intentionally conspire to manufacture and

     distribute one or more controlled substances, which offense involved:(a) a substance containing

     cocaine, a Schedule II controlled substance;(b)a substance containing heroin, a Schedule I

     controlled substance;(c)a substance containing methamphetamine, a Schedule II controlled

     substance;(d)a substance containing marijuana, a Schedule I controlled substance; and (e)a

     substance containing N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl] propanamide ("fentanyl"), a

     Schedule II controlled substance intending and knowing that such substances would be

     unlawfully imported into the United States from a place outside thereof, contrary to Title 21,

     United States Code, Sections 959(a) and 960(a)(3). The amount of cocaine involved in the

     conspiracy attributable to the defendant as a result of his own conduct, and the conduct of other

     conspirators reasonably foreseeable to him, was at least five kilograms or more of a substance

     containing cocaine. The amount of heroin involved in the conspiracy attributable to the

     defendant as a result of his own conduct, and the conduct of other conspirators reasonably

     foreseeable to him, was at least one kilogram or more of a substance containing heroin. The

     amount of methamphetamine involved in the conspiracy attributable to the defendant as a result

     of his own conduct, and the conduct of other conspirators reasonably foreseeable to him, was at

     least 500 grams or more of a mixture or substance containing methamphetamine. The amount of

     marijuana involved in the conspiracy attributable to the defendant as a result of his own conduct,

     and the conduct of other conspirators reasonably foreseeable to him, was at least one thousand

     kilograms of a substance containing marijuana. The amount offentanyl involved in the

     conspiracy attributable to the defendant as a result of his own conduct, and the conduct of others
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                                                                                                       13



     reasonably foreseeable to him, was at least 400 grams or more of a substance containing

     fentanyl.

                    (Title 21, United States Code, Sections 960(b)(1)(A), 960(b)(l)(B)(ii),

     960(b)(1)(F), 960(b)(1)(G), 960(b)(1)(H) and 963; Title 18, United States Code, Sections 3238

     and 3551 et seq.)

                                               COUNT THREE
                                     (Cocaine Importation Conspiracy)

                     16.    The allegations contained in paragraphs one through five are realleged and

     incorporated as if fully set forth in this paragraph.

                     17.    In or about and between January 1989 and January 2024, both dates being

     approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

     ISMAEL ZAMBADA GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La

     Doc,""Doctora,""El Lie,""Mike" and "Mayo El Senor," together with others, did knowingly

     and intentionally conspire to import a controlled substance into the United States from a place

     outside thereof, which offense involved a substance containing cocaine, a Schedule II controlled

     substance, contrary to Title 21, United States Code, Sections 952(a) and 960(a)(1). The amount

     of cocaine involved in the conspiracy attributable to the defendant as a result of his own conduct,

     and the conduct of other conspirators reasonably foreseeable to him, was at least five kilograms

     or more of a substance containing cocaine.

                    (Title 21, United States Code, Sections 960(b)(l)(B)(ii) and 963; Title 18, United

     States Code, Sections 3551 et seq.)

                                                COUNTFOUR
                                     (Cocaine Distribution Conspiracy)

                     18.    The allegations contained in paragraphs one through five are realleged and

     incorporated as iffully set forth in this paragraph.
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                                                                                                        14



                     19.    In or about and between January 1989 and January 2024, both dates being

     approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

     ISMAEL ZAMBADA GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La

     Doc,""Doctora,""El Lie,""Mike" and "Mayo El Senor," together with others, did knowingly

     and intentionally conspire to distribute and possess with intent to distribute a controlled

     substance, which offense involved a substance containing cocaine, a Schedule H controlled

     substance, contrary to Title 21, United States Code, Section 841(a)(1). The amount of cocaine

     involved in the conspiracy attributable to the defendant as a result of his own conduct, and the

     conduct of other conspirators reasonably foreseeable to him, was at least five kilograms or more

     ofa substance containing cocaine.

                    (Title 21, United States Code, Sections 846 and 841(b)(l)(A)(ii)(II); Title 18,

     United States Code, Sections 3551 et seq.J

                                                COUNT FIVE
                                  (International Distribution of Cocaine -
                                 Approximately 373 Kilograms of Cocaine)

                    20.     The allegations contained in paragraphs one through five are realleged and

     incorporated as if fully set forth in this paragraph.

                    21.     On or about January 15, 2014, the defendant ISMAEL ZAMBADA

     GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

     Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally

     distribute a controlled substance, intending and knowing that such substance would be

     unlawfully imported into the United States from a place outside thereof, which offense involved

     five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                    (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

     960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seo.J
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                                                                                                     15



                                                 COUNT SIX
                                         (Cocaine Distribution -
                                  Approximately 25 Kilograms of Cocaine)

                    22.     The allegations contained in paragraphs one through five are realleged and

     incorporated as if fully set forth in this paragraph.

                    23.     On or about September 27,2013, the defendant ISMAEL ZAMBADA

     GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

     Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally

     distribute a controlled substance, intending and knowing that such substance would be

     unlawfully imported into the United States from a place outside thereof, which offense involved

     five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                    (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

     960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seq.^

                                               COUNT SEVEN
                                  (International Distribution of Cocaine -
                                 Approximately 456 Kilograms of Cocaine)

                    24.     The allegations contained in paragraphs one through five are realleged and

     incorporated as iffully set forth in this paragraph.

                    25.     On or about June 6,2013, the defendant ISMAEL ZAMBADA GARCIA,

     also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El Lie,""Mike"

     and "Mayo El Senor," together with others, did knowingly and intentionally distribute a

     controlled substance, intending and knowing that such substance would be unlawfully imported

     into the United States from a place outside thereof, which offense involved five kilograms or

     more of a substance containing cocaine, a Schedule 11 controlled substance.

                    (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

     960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seo.J
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                                                                                                     16



                                               COUNT EIGHT
                                   (International Distribution of Cocaine -
                                 Approximately 1,302 Kilograms of Cocaine)

                    26.     The allegations contained in paragraphs one through five are realleged and

     incorporated as if fully set forth in this paragraph.

                    27.     On or about May 2,2010, the defendant ISMAEL ZAMBADA GARCIA,

     also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El Lie,""Mike"

     and "Mayo El Senor," together with others, did knowingly and intentionally distribute a

     controlled substance, intending and knowing that such substance would be unlawfully imported

     into the United States from a place outside thereof, which offense involved five kilograms or

     more of a substance containing cocaine, a Schedule II controlled substance.

                    (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

     960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seq.)

                                                COUNT NINE
                                  (International Distribution of Cocaine -
                                Approximately 1,000 Kilograms of Cocaine)

                    28.     The allegations contained in paragraphs one through five are realleged and

     incorporated as if fully set forth in this paragraph.

                    29.     On or about October 7,2009, the defendant ISMAEL ZAMBADA

     GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

     Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally

     distribute a controlled substance, intending and knowing that such substance would be

     unlawfully imported into the United States from a place outside thereof, which offense involved

     five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                    (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

     960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et sea.)
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                                                                                                     17



                                                COUNT TEN
                                  (International Distribution of Cocaine -
                                 Approximately 450 Kilograms of Cocaine)

                    30.     The allegations contained in paragraphs one through five are realleged and

     incorporated as iffully set forth in this paragraph.

                    31.     In or about December 2008, the defendant ISMAEL ZAMBADA

     GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

     Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally

     distribute a controlled substance, intending and knowing that such substance would be

     unlawfully imported into the United States from a place outside thereof, which offense involved

     five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                    (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

     960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seq.)

                                             COUNT ELEVEN
                                  (International Distribution of Cocaine -
                                 Approximately 400 Kilograms of Cocaine)

                    32.     The allegations contained in paragraphs one through five are realleged and

     incorporated as iffully set forth in this paragraph.

                    33.     On or about February 3,2006, the defendant ISMAEL ZAMBADA

     GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

     Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally

     distribute a controlled substance, intending and knowing that such substance would be

     unlawfully imported into the United States from a place outside thereof, which offense involved

     five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                    (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

     960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et sea.)
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                                             COUNT TWELVE
                                 (International Distribution of Cocaine -
                               Approximately 12,000 Kilograms of Cocaine)

                    34.     The allegations contained in paragraphs one through five are realleged and

     incorporated as iffully set forth in this paragraph.

                    35.     In or about September 2004, the defendant ISMAEL ZAMBADA

     GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

     Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally

     distribute a controlled substance, intending and knowing that such substance would be

     unlawfully imported into the United States from a place outside thereof, which offense involved

     five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                    (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

     960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seq.)

                                            COUNT THIRTEEN
                                 (International Distribution of Cocaine -
                               Approximately 10,500 Kilograms of Cocaine)

                    36.     The allegations contained in paragraphs one through five are realleged and

     incorporated as iffully set forth in this paragraph.

                    37.     In or about August 2004 and September 2004, both dates being

     approximate and inclusive, the defendant ISMAEL ZAMBADA GARCIA,also known as "El

     Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El Lie,""Mike" and "Mayo El

     Senor," together with others, did knowingly and intentionally distribute a controlled substance,

     intending and knowing that such substance would be unlawfully imported into the United States
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     from a place outside thereof, which offense involved five kilograms or more of a substance

     containing cocaine, a Schedule II controlled substance.

                    (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

     960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seq.)

                                            COUNT FOURTEEN
                                  (International Distribution of Cocaine -
                                Approximately 8,000 Kilograms of Cocaine)

                    38.     The allegations contained in paragraphs one through five are realleged and

     incorporated as if fully set forth in this paragraph.

                    39.     In or about and between January 2004 and March 2004, both dates being

     approximate and inclusive, the defendant ISMAEL ZAMBADA GARCIA,also known as "El

     Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El Lie,""Mike" and "Mayo El

     Senor," together with others, did knowingly and intentionally distribute a controlled substance,

     intending and knowing that such substance would be unlawfully imported into the United States

     from a place outside thereof, which offense involved five kilograms or more of a substance

     containing cocaine, a Schedule II controlled substance.

                    (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

     960(b)(l)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et seq.)

                                              COUNT FIFTEEN
                                  (International Distribution of Cocaine -
                                Approximately 2,000 Kilograms of Cocaine)

                    40.     The allegations contained in paragraphs one through five are realleged and

     incorporated as iffully set forth in this paragraph.

                    41.     On or about January 25,2004, the defendant ISMAEL ZAMBADA

     GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La Doc,""Doctora,""El

     Lie,""Mike" and "Mayo El Senor," together with others, did knowingly and intentionally
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                                                                                                      20



     distribute a controlled substance, intending and knowing that such substance would be

     unlawfully imported into the United States from a place outside thereof, which offense involved

     five kilograms or more of a substance containing cocaine, a Schedule II controlled substance.

                    (Title 21, United States Code, Sections 959(a), 959(c), 960(a)(3) and

     960(b)(I)(B)(ii); Title 18, United States Code, Sections 2, 3238 and 3551 et sqq.)

                                              COUNT SIXTEEN
                                              (Use of Firearms)

                    42.     The allegations contained in paragraphs one through five are realleged and

     incorporated as if fully set forth in this paragraph.

                    43.     In or about and between January 1989 and January 2024, both dates being

     approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

     ISMAEL ZAMBADA GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La

     Doc,""Doctora,""El Lie,""Mike" and "Mayo El Senor," together with others, did knowingly

     and intentionally use and carry one or more firearms during and in relation to one or more drug

     trafficking crimes, to wit: the crimes charged in Counts One through Four, and did knowingly

     and intentionally possess such firearms in furtherance of said drug trafficking crimes, one or

     more of which firearms was brandished and discharged and one or more of which firearms was a

     machinegun.

                    (Title 18, United States Code, Sections 924(c)(l)(A)(i), 924(c)(I)(A)(ii),

     924(c)(l)(A)(iii), 924(c)(I)(B)(ii), 2 and 3551 ^^.)

                                           COUNT SEVENTEEN
                                (Conspiracy to Launder Narcotics Proceeds)

                    44.     The allegations contained in paragraphs one through five are realleged and

     incorporated as iffully set forth in this paragraph.
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                    45.     In or about and between January 1989 and January 2024, both dates being

     approximate and inclusive, within the Eastern District of New York and elsewhere, the defendant

     ISMAEL ZAMBADA GARCIA,also known as "El Mayo,""Mayo Zambada,""Doctor,""La

     Doc,""Doctora,""El Lie,""Mike" and "Mayo El Senor," together with others, did knowingly

     and intentionally conspire to:(i) conduct one or more financial transactions in and affecting

     interstate and foreign commerce,to wit: the transfer and delivery of United States currency,

     which transactions in fact involved the proceeds of specified unlawful activity, to wit: narcotics

     trafficking, in violation of Title 21, United States Code, Sections 841(a)(1), 846, 848, 952(a),

     959 and 963, knowing that the property involved in the transactions represented the proceeds of

     some form of unlawful activity,(a) with the intent to promote the carrying on of the specified

     unlawful activity, contrary to Title 18, United States Code, Section 1956(a)(l)(A)(i), and (b)

     knowing that the transactions were designed in whole and in part to conceal and disguise the

     nature, the location, the source,the ownership and the control ofthe proceeds ofthe specified

     unlawful activity, and to avoid one or more transaction reporting requirements, contrary to Title

     18, United States Code, Section 1956(a)(1)(B); and (ii) transport, transmit and transfer monetary

     instruments and funds from a place in the United States to and through one or more places

     outside the United States, to wit: Mexico and Colombia,(a) with the intent to promote the

     carrying on ofthe specified unlawful activity, contrary to Title 18, United States Code, Section

     1956(a)(2)(A), and (b)knowing that the funds represented the proceeds ofsome form of

     unlawful activity and knowing that the transportation, transmission and transfer were designed in

     whole and in part to conceal and disguise the nature, the location, the source,the ownership and

     the control ofthe proceeds of the specified unlawful activity, and to avoid one or more
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                                                                                                          22



     transaction reporting requirements, contrary to Title 18, United States Code, Section

     1956(a)(2)(B).

                    (Title 18, United States Code, Sections 1956(h) and 3551 et seq.)

                                 CRIMINAL FORFEITURE ALLEGATION
                                            AS TO COUNT ONE
                                     (Continuing Criminal Enterprise)

                    46.     The United States hereby gives notice to the defendant that, upon

     conviction of the offense charged in Count One,the government will seek forfeiture in

     accordance with Title 21, United States Code, Section 853(a), which requires any person

     convicted of such offense to forfeit any property constituting, or derived from, proceeds

     obtained, directly or indirectly, and any property used, or intended to be used, in any manner or

     part, to commit, or to facilitate the commission of, such offense, and any oftheir interest in,

     claims against, and property or contractual rights affording a source of control over, the

     continuing criminal enterprise, including but not limited to at least approximately a sum of

     money equal to $14 billion in United States currency.

                    47.     If any ofthe above-described forfeitable property, as a result of any act or

     omission ofthe defendant:


                           (a)     cannot be located upon the exercise of due diligence;

                           (b)      has been transferred or sold to, or deposited with, a third party;

                           (c)      has been placed beyond the jurisdiction of the court;

                           (d)      has been substantially diminished in value; or

                           (e)      has been commingled with other property which cannot be divided

     without difficulty;

     it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p), to
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                                                                                                           23



     seek forfeiture of any other property ofthe defendant up to the value ofthe forfeitable property

     described in this forfeiture allegation.

                    (Title 21, United States Code, Sections 853(a) and 853(p))

                                  CRIMINAL FORFEITURE ALLEGATION
                               AS TO COUNTS TWO THROUGH FIFTEEN
               (Cocaine, Heroin, Methamphetamine, Marijuana and/or Fentanyl Trafficking)

                    48.     The United States hereby gives notice to the defendant that, upon

     conviction of any of the offenses charged in Counts Two through Fifteen, the government will

     seek forfeiture in accordance with Title 21, United States Code, Section 853, which requires any

     person convicted of such offenses to forfeit any property constituting, or derived from, proceeds

     obtained, directly or indirectly, and any property used, or intended to be used, in any manner or

     part, to commit, or to facilitate the commission of, such offenses including but not limited to at

     least approximately a sum of$14 billion in United States currency.

                    49.     If any ofthe above-described forfeitable property, as a result of any act or

     omission of the defendant:


                            (a)     cannot be located upon the exercise of due diligence;

                            (b)     has been transferred or sold to, or deposited with, a third party;

                            (c)     has been placed beyond the jurisdiction ofthe court;

                            (d)     has been substantially diminished in value; or

                            (e)     has been commingled with other property which cannot be divided

     without difficulty;

     it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

     seek forfeiture of any other property ofthe defendant up to the value ofthe forfeitable property

     described in this forfeiture allegation.

                    (Title 21, United States Code, Sections 853(a) and 853(p))
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                                                                                                          24



                  CRIMINAL FORFEITURE ALLEGATION AS TO COUNT SIXTEEN
                           (Use of Firearms in Furtherance of Drug Trafficking)

                    50.     The United States hereby gives notice to the defendant that, upon his

     conviction ofthe offense charged in Count Sixteen, the government will seek forfeiture in

     accordance with Title 21, United States Code, Section 924(d), which requires any person

     convicted of such offense to forfeit any firearm or ammunition involved in or used in any

     knowing violation of such offense.

                    51.     If any ofthe above-described forfeitable property, as a result of any act or

     omission ofthe defendant:


                            (a)     cannot be located upon the exercise of due diligence;

                            (b)     has been transferred or sold to, or deposited with, a third party;

                            (c)     has been placed beyond the jurisdiction ofthe court;

                            (d)     has been substantially diminished in value; or

                            (e)     has been commingled with other property which cannot be divided

     without difficulty;

     it is the intent ofthe United States, pursuant to Title 21, United States Code, Section 853(p), to

     seek forfeiture of any other property ofthe defendant up to the value of the forfeitable property

     described in this forfeiture allegation.

                    (Title 21, United States Code, Sections 853(p)and 924(d))
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                                 CRIMINAL FORFEITURE ALLEGATION
                                       AS TO COUNT SEVENTEEN
                                            (Money Laundering)

                    52.     The United States hereby gives notice to the defendant that, upon

     conviction ofthe offense charged in Count Seventeen, the government will seek forfeiture in

     accordance with Title 18, United States Code, Section 982, of all property involved in such

     offense, and all property traceable to such property, including but not limited to at least

     approximately a sum of$14 billion in United States currency.

                    53.     If any ofthe above-described forfeitable property, as a result of any act or

     omission of the defendant:


                           (a)      cannot be located upon the exercise of due diligence;

                           (b)      has been transferred or sold to, or deposited with, a third party;

                           (c)      has been placed beyond the jurisdiction ofthe court;

                           (d)      has been substantially diminished in value; or

                           (e)      has been commingled with other property which cannot be divided

     without difficulty;

     it is the intent ofthe United States, pursuant to Title 18, United States Code, Section 982,to seek
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     forfeiture of any other property ofthe defendant up to the value ofthe forfeitable property

     described in this forfeiture allegation.

                    (Title 18, United States Code, Section 982)




                                                                  A TRUE BILL




                                                         BREON PEACE
                                                          UNITED STATES ATTORNEY
                                                         EASTERN DISTRICT OF NEW YORK
                                                                        Digitally signed by MARLON
                                                          MARLON        COBAR
                                                                        Date:2024.0U3 1S£0:44
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                                                         MARLON COBAR
                                                         CHIEF
                                                         NARCOTIC & DANGEROUS DRUG
                                                         SECTION, CRIMINAL DIVISION
                                                         U.S. DEPARTMENT OF JUSTICE
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F.#: 2009R01065/OCDETF# NY-NYE-616

FORMDBD-34                           No.
JUN. 85



                                            UNITED STATES DISTRICT COURT

                                                          EASTERN District of NEW YORK

                                                                   CRIMINAL DIVISION


                                                            THE UNITED STATES OF AMERICA




                                                                ISMAEL ZAMBADA GARCIA,

                                                                                                                  Defendant.


                                                                       INDICTMENT
                                     (T. 21, U.S.C.,§§ 841(b)(1)(A)(ii)(n), 846, 848(a), 848(b), 848(c), 853(a), 853(p),
                                     959(a), 959(0), 960(a)(3), 960(b)(1)(A), 960(b)(l)(B)(ii), 960(b)(1)(F), 960(b)(1)(G),
                                     960(b)(1)(H), and 963; T. 18, U.S.C., §§ 2,924(c)(l)(A)(i), 924(c)(l)(A)(ii),
                                     924(c)(l)(A)(iii), 924(c)(l)(B)(ii), 924(d), 982, 1956(h), 3238 and 3551 et^.)




                                     Filed in open court this                          day,

                                     of                         A.D.20


                                                                                                                          Clerk




                                     Bail, $


                                               Robert M.Pollack, Assistant U.S. Attorney (718)254-6232
